
PER CURIAM.
The trial court having denied appellant’s motion for new trial, we affirm the trial court’s order as to the merits but reverse same and remand for jury trial solely upon the issue of damages. Division of Admin., Florida Dep’t of Transp. v. Davis, 511 So.2d 686, 688 (Fla. 4th DCA 1987); Barge v. Simeton, 460 So.2d 939, 940 (Fla. 4th DCA 1984); Jayre Inc. v. Wachovia Bank &amp; Trust Co., 420 So.2d 937, 938 (Fla. 3d DCA 1982).
GLICKSTEIN, GUNTHER and PARIENTE, JJ., concur.
